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                         UNITED STATES DISTRICT CO URT
                         SO UTHERN DISTRICT OF FLO RIDA
                          Case No.18-20539-CIV-W ILLIAM S

 DR.KURT MARIN,efa/.,

        Plainti
              ffs,

 VS.

 DADE CO UNTY,efa/.,

        Defendant.
                                  /


                                        O RDER
        THIS MATTER is before the Courton a sua sponte review of the record. O n

  February 12,2018,Plaintiffsfiled theircomplaintin the above-captioned matter. (DE 1).
 The com plaintis 40 pages long and attaches 193 pages ofexhibits. Plaintiffs did notpay

 the filing fee,butatIeastone Plainti
                                    ff- M aurice Symonette- filed an undated m otion to

  proceed in forma pauperis. (DE 3).
        Because Plaintiffs seek to proceed in form a pauperistthe screening provisions of

  28 U.S.C.j 1915(e)are applicable to this matter. Pursuantto thatstatute,courts are
  permitted to dism iss a suit''any time ()the courtdetermines that...(B)the action or
  appeal(i)isfrivolousormalicious'
                                 ,(ii)failstostatea claim onwhichreliefm aybe granted'
                                                                                     ,
  or(iii)seeks monetary reliefagainsta defendantwho is im mune from such relief.' 28
  U.S.C.j 1915(e)(2). Dismissals forfailure to state a claim underj 1915(e)(2)(B)(ii)are
  governed bythe samestandard asthose underRule 12(b)(6)ofthe FederalRulesofCivil
  Procedure.See Mitchell7.Farcass,112 F.3d 1483,1490 (11th Cir.1997)*
                                                                    ,see a/so Bell
  AtlanticCorp.v.Twombly,550 U.S.544,555(2007)(holding thatacomplaintmaysurvive
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 a Rule 12(b)(6)motion to dismiss only ifitcontains factualallegations thatare '
                                                                               senough
 to raise a right to relief above the speculative level,on the assum ption that aIIthe

 allegations inthe com plaintare true (even ifdoubtfulinfact)').
        Additionally,since the federalcouds are couds of Iimited jurisdiction,they are
 'sobligated to inquire into subject-matter jurisdiction whenever it may be lacking.''
 Blakenship B.G&/fPowerCo.,551F.App'x.468,470 (11th Cir.2013)(quoting Bochese
 F.Town ofPonce lnlet,405 F.3d 964,975 (11th Cir.2005)). lf,atany time,the Coud
 determinesthatitIackssubjectmatterjurisdiction,theCourtmustdism isstheaction.See
 Fed.R.Civ.P.12(h)(3). Federalcourtjurisdiction is further Iimited by the Rooker-
 Feldmandoctrine,lwhich 'places limitsonthe subjectmatterjurisdictionoffederaldistrict
 couds and couds ofappealovercedain matters related to previous state coud Iitigation.''

  Goodman ex rel.Goodman v.Sipos,259 F.3d 1327,1332 (11th Cir.2001). Underthe
 doctrine,'lfederalcouds,otherthan the United States Supreme Coud,have no authority

 to review the finaljudgments ofstate courts.'' Siegelv.Lepore,234 F.3d 1163,1172
  (11th Cir.2000).
        Generally,pro se com plaints are held to a Iess stringent pleading standard than

  formalpleadings drafted by Iawyers. See Tannenbaum ?.United States,148 F.3d 1262,

  1263(11th Cir.1998).This lowered standard,however,does notpermita courtto '
                                                                            dserve
  as de facto counselfora pady,or...rewrite an otherwise deficientpleading in orderto

  sustain an action.''GJ& Invs.,Inc.7.Cnty.ofEscambia,Fla.,132 F.3d 1359,1369 (11th
  Cir.1998),overruled on othergrounds byAshcroft?.lqbal,556 U.S.662 (2009).


  1The doctrine derives from two Suprem e Courtcases: Rooker v.Fid.Trust C0.,263 U.S.413
  (1923)and Dist.ofColumbiaCof
                             prlofAppealsv.Feldman,460U.S.462 (1986).
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        Plaintiffs'com plaintIists eleven causes ofaction. As an initialm atter,the Court

 notes thatatIeastseven ofthose causes of action are brought pursuantto statutes or

 rulesoverwhichthe CourtIacksjurisdiction,and com pletediversityofthe Padies hasnot
 been established. Those claim s m ust therefore be dism issed. The rem aining

 constitutionalclaim s and claim s underfederalstatutes are sim ilarly deficient. Nearly alI

 ofthe facts setout in Plaintiffs'com plaintgo to circum stances arising outofeitherthe

 eviction of Plaintiffs from their residence or state court and bankruptcy proceedings

  involving the Plaintiffs. This Courthas no jurisdiction overthose proceedings orany
  authority to review a challenge to Defendants'actions pursuantto the decisions rendered

  on those m atters.

        In Iightofthe above,the Coud finds thatPlaintiffs'com plaintis deficient,and fails

  to state a cognizable claim for relief,even construing it m ost Iiberally and underthe

  relaxed pleading standard afforded to pro se Iitigants. See Abele F.Tolbert,130 F.App'x

  342,343 (11th Cir.2005).
                         ,See Tannenbaum B.United States,148 F.3d 1262,1263 (11th
  Cir.1998).
           ,Olsen e.Lane,832 F.Supp.1525,1527 (M.D.Fla.1993)('$(TJhepro se litigant
  muststillmeetminimalpleadingstandards.'').Additionally,Plainti
                                                               ffs have failed to allege
  a sufficientbasisforfederaljurisdiction,asexplained above.Accordingly,itisORDERED
  AND ADJUDGED thatPlaintiffs'complaint(DE 1)is DISM ISSED. AIIpending motions
  are DENIED AS M O O T. The Clerk is directed to C LOSE this case.




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         DO NE AND O RDERED in cham bers in M iam i,Florida,thi   Vday of February
                                                                                 ,


 2018.


                                               KATHL   M .W ILLIAMS
                                               UNITED TATES DISTRICT JUDGE




 cc:     Jam es Buckm an,M aurice Symonette,Kud Marin,
         Clyde M cphatter,Alfred David,and Jerim iah Parham
         3320 NE 165thstreet
         M iam i,FL 33160
